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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 18-CR-20131-PCH

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  JOSE MIGUEL BELLO-VALDEZ,

        Defendant.
  _____________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         The matter before the Court is Magistrate Judge Becerra’s Report and Recommendation
  on Change of Plea [ECF No. 21]. In the report and recommendation, Judge Becerra recommends
  that Defendant Jose Miguel Bello-Valdez freely and voluntarily entered a guilty plea to aggravated
  identity theft under 18 U.S.C. § 1028A(a)(1). Judge Becerra recommends that Defendant Bello-
  Valdez’s plea be accepted, that Defendant Bello-Valdez be adjudicated guilty of the offense to
  which the guilty plea has been entered, and that a sentencing hearing be conducted for final
  disposition of this matter. Neither Defendant Bello-Valdez nor the Government filed a notice of
  objection to Judge Becerra’s report and recommendation. Accordingly, having reviewed the
  record de novo, it is
         ORDERED that Magistrate Judge Becerra’s Report and Recommendation on Change of
  Plea [ECF No. 21] is adopted and approved in its entirety. Defendant Bello-Valdez’s guilty plea
  is accepted, and he is adjudged guilty of aggravated identity theft. A sentencing hearing is set
  before Judge Paul Huck on Monday, August 9, 2021, at 2:00 p.m.
         DONE AND ORDERED in Miami, Florida, on May 31, 2021.


                                                      _____________________________
                                                      Paul C. Huck
                                                      United States District Judge

  Copies provided to:
  Counsel of Record
  U.S. Pretrial Services

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